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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ABLE HOME HEALTH, LLC,                             )
on behalf of plaintiff and                         )
the class members defined herein,                  )
                                                   )      16 C 9379
              Plaintiff,                           )
                                                   )      Judge Tharp
              v.                                   )      Magistrate Judge Mason
                                                   )
AUGUST SYSTEMS, INC.,                              )
and JOHN DOES 1-10,                                )
                                                   )
              Defendants.                          )

                               STIPULATION TO DISMISS

       NOW COME the Parties, by and through their respective attorneys, and pursuant to Fed

R. Civ. Proc. 41(a), hereby stipulate to the dismissal of Plaintiff Able Home Health, LLC’s

individual claims against Defendant August Systems, Inc. with prejudice and without costs.

Plaintiff Able Home Health, LLC’s putative class claims against Defendant August Systems, Inc.

are dismissed without prejudice and without costs. Plaintiff Able Home Health, LLC’s claims

against John Does 1-10 are dismissed without prejudice and without costs.

Respectfully submitted,

s/ Heather Kolbus                                         s/ A. Paul Heeringa (w/ consent)
Daniel A. Edelman                                         A. Paul Heeringa
Heather Kolbus                                            MANATT, PHELPS
EDELMAN, COMBS, LATTURNER                                        & PHILLIPS, LLP
       & GOODWIN, LLC                                     115 S. LaSalle Street, Suite 2600
20 S. Clark Street, Suite 1500                            Chicago, IL 60603
Chicago, IL 60603                                         (312) 626-1813
(312) 739-4200
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                             CERTIFICATE OF SERVICE


        I, Heather Kolbus, certify that on March 13, 2017, I caused a true and accurate copy of
the forgoing document to be filed via the court’s CM/ECF system which caused notice via email
be sent to the following:

      A.Paul Heeringa
      MANNATT, PHELPS & PHILLIPS, LLP
      115 S. LaSalle Street, Suite 2600
      Chicago, IL 60603


                                                   s/ Heather Kolbus
                                                   Heather Kolbus


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